Case 2:20-cv-04991-RGK-SK Document 1 Filed 06/05/20 Page 1 of 8 Page ID #:1




 1     CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
 2     Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
 3     Amanda Seabock, Esq., SBN 289900
       Mail: 8033 Linda Vista Road, Suite 200
 4     San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
 5     amandas@potterhandy.com
 6     Attorneys for Plaintiff
 7
 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Martin Vogel,                           Case No.

12               Plaintiff,
                                               Complaint For Damages And
13       v.                                    Injunctive Relief For Violations
                                               Of: American’s With Disabilities
14     John B. Narguizian, in individual       Act; Unruh Civil Rights Act
       and representative capacity as
15     trustee of The Narguizian Family
       Trust dated June 28, 2000;
16     Georgette S. Narguizian, in
       individual and representative
17     capacity as trustee of The Narguizian
       Family Trust dated June 28, 2000;
18     The Pep Boys Manny Moe & Jack
       of California, a California
19     Corporation; and Does 1-10,

20               Defendants.

21
22         Plaintiff Martin Vogel complains of John B. Narguizian, in individual

23   and representative capacity as trustee of The Narguizian Family Trust dated

24   June 28, 2000; Georgette S. Narguizian, in individual and representative

25   capacity as trustee of The Narguizian Family Trust dated June 28, 2000; The

26   Pep Boys Manny Moe & Jack of California, a California Corporation; and Does

27   1-10 (“Defendants”), and alleges as follows:

28


                                           1

     Complaint
Case 2:20-cv-04991-RGK-SK Document 1 Filed 06/05/20 Page 2 of 8 Page ID #:2




 1     PARTIES:
 2     1. Plaintiff is a California resident with physical disabilities. He is a T3
 3   paraplegic who cannot walk and who uses a wheelchair for mobility.
 4     2. Defendants John B. Narguizian and Georgette S. Narguizian, in
 5   individual and representative capacity as trustee of The Narguizian Family
 6   Trust dated June 28, 2000, owned the real property located at or about 7340
 7   Reseda Blvd., Reseda, California, in July 2019.
 8     3. Defendants John B. Narguizian and Georgette S. Narguizian, in
 9   individual and representative capacity as trustee of The Narguizian Family
10   Trust dated June 28, 2000, own the real property located at or about 7340
11   Reseda Blvd., Reseda, California, currently.
12     4. Defendant The Pep Boys Manny Moe & Jack of California owned Pep
13   Boys Auto located at or about 7340 Reseda Blvd., Reseda, California, in July
14   2019.
15     5. Defendant The Pep Boys Manny Moe & Jack of California owns Pep
16   Boys Auto located at or about 7340 Reseda Blvd., Reseda, California,
17   currently.
18     6. Plaintiff does not know the true names of Defendants, their business
19   capacities, their ownership connection to the property and business, or their
20   relative responsibilities in causing the access violations herein complained of,
21   and alleges a joint venture and common enterprise by all such Defendants.
22   Plaintiff is informed and believes that each of the Defendants herein,
23   including Does 1 through 10, inclusive, is responsible in some capacity for the
24   events herein alleged, or is a necessary party for obtaining appropriate relief.
25   Plaintiff will seek leave to amend when the true names, capacities,
26   connections, and responsibilities of the Defendants and Does 1 through 10,
27   inclusive, are ascertained.
28


                                            2

     Complaint
Case 2:20-cv-04991-RGK-SK Document 1 Filed 06/05/20 Page 3 of 8 Page ID #:3




 1     JURISDICTION & VENUE:
 2     7. The Court has subject matter jurisdiction over the action pursuant to 28
 3   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 4   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 5     8. Pursuant to supplemental jurisdiction, an attendant and related cause
 6   of action, arising from the same nucleus of operative facts and arising out of
 7   the same transactions, is also brought under California’s Unruh Civil Rights
 8   Act, which act expressly incorporates the Americans with Disabilities Act.
 9     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
10   founded on the fact that the real property which is the subject of this action is
11   located in this district and that Plaintiff's cause of action arose in this district.
12
13     FACTUAL ALLEGATIONS:
14     10. Plaintiff went to Pep Boys Auto in July 2019 with the intention to avail
15   himself of its goods and to assess the business for compliance with the
16   disability access laws.
17     11. Pep Boys Auto is a facility open to the public, a place of public
18   accommodation, and a business establishment.
19     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
20   to provide wheelchair accessible parking in conformance with the ADA
21   Standards as it relates to wheelchair users like the plaintiff.
22     13. On information and belief, the defendants currently fail to provide
23   wheelchair accessible parking.
24     14. Additionally, on the date of the plaintiff’s visit, the defendants failed to
25   provide wheelchair accessible restrooms in conformance with the ADA
26   Standards as it relates to wheelchair users like the plaintiff.
27     15. On information and belief, the defendants currently fail to provide
28   wheelchair accessible restrooms.


                                               3

     Complaint
Case 2:20-cv-04991-RGK-SK Document 1 Filed 06/05/20 Page 4 of 8 Page ID #:4




 1     16. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 2   personally encountered these barriers.
 3     17. As a wheelchair user, the plaintiff benefits from and is entitled to use
 4   wheelchair accessible facilities. By failing to provide accessible facilities, the
 5   defendants denied the plaintiff full and equal access.
 6     18. The failure to provide accessible facilities created difficulty and
 7   discomfort for the Plaintiff.
 8     19. The defendants have failed to maintain in working and useable
 9   conditions those features required to provide ready access to persons with
10   disabilities.
11     20. The barriers identified above are easily removed without much
12   difficulty or expense. They are the types of barriers identified by the
13   Department of Justice as presumably readily achievable to remove and, in fact,
14   these barriers are readily achievable to remove. Moreover, there are numerous
15   alternative accommodations that could be made to provide a greater level of
16   access if complete removal were not achievable.
17     21. Plaintiff will return to Pep Boys Auto to avail himself of its goods and to
18   determine compliance with the disability access laws once it is represented to
19   him that Pep Boys Auto and its facilities are accessible. Plaintiff is currently
20   deterred from doing so because of his knowledge of the existing barriers and
21   his uncertainty about the existence of yet other barriers on the site. If the
22   barriers are not removed, the plaintiff will face unlawful and discriminatory
23   barriers again.
24     22. Given the obvious and blatant nature of the barriers and violations
25   alleged herein, the plaintiff alleges, on information and belief, that there are
26   other violations and barriers on the site that relate to his disability. Plaintiff will
27   amend the complaint, to provide proper notice regarding the scope of this
28   lawsuit, once he conducts a site inspection. However, please be on notice that


                                               4

     Complaint
Case 2:20-cv-04991-RGK-SK Document 1 Filed 06/05/20 Page 5 of 8 Page ID #:5




 1   the plaintiff seeks to have all barriers related to his disability remedied. See
 2   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 3   encounters one barrier at a site, he can sue to have all barriers that relate to his
 4   disability removed regardless of whether he personally encountered them).
 5
 6   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 7   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 8   Defendants.) (42 U.S.C. section 12101, et seq.)
 9     23. Plaintiff re-pleads and incorporates by reference, as if fully set forth
10   again herein, the allegations contained in all prior paragraphs of this
11   complaint.
12     24. Under the ADA, it is an act of discrimination to fail to ensure that the
13   privileges, advantages, accommodations, facilities, goods and services of any
14   place of public accommodation is offered on a full and equal basis by anyone
15   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
16   § 12182(a). Discrimination is defined, inter alia, as follows:
17            a. A failure to make reasonable modifications in policies, practices,
18                or procedures, when such modifications are necessary to afford
19                goods,     services,   facilities,   privileges,    advantages,     or
20                accommodations to individuals with disabilities, unless the
21                accommodation would work a fundamental alteration of those
22                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
23            b. A failure to remove architectural barriers where such removal is
24                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
25                defined by reference to the ADA Standards.
26            c. A failure to make alterations in such a manner that, to the
27                maximum extent feasible, the altered portions of the facility are
28                readily accessible to and usable by individuals with disabilities,


                                              5

     Complaint
Case 2:20-cv-04991-RGK-SK Document 1 Filed 06/05/20 Page 6 of 8 Page ID #:6




 1                including individuals who use wheelchairs or to ensure that, to the
 2                maximum extent feasible, the path of travel to the altered area and
 3                the bathrooms, telephones, and drinking fountains serving the
 4                altered area, are readily accessible to and usable by individuals
 5                with disabilities. 42 U.S.C. § 12183(a)(2).
 6     25. When a business provides parking for its customers, it must provide
 7   accessible parking.
 8     26. Here, accessible parking has not been provided in conformance with the
 9   ADA Standards.
10     27. When a business provides facilities such as restrooms, it must provide
11   accessible restrooms in compliance with the ADA Standards.
12     28. Here, accessible restrooms have not been provided in conformance with
13   the ADA Standards.
14     29. The Safe Harbor provisions of the 2010 Standards are not applicable
15   here because the conditions challenged in this lawsuit do not comply with the
16   1991 Standards.
17     30. A public accommodation must maintain in operable working condition
18   those features of its facilities and equipment that are required to be readily
19   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
20     31. Here, the failure to ensure that the accessible facilities were available
21   and ready to be used by the plaintiff is a violation of the law.
22
23   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
24   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
25   Code § 51-53.)
26     32. Plaintiff repleads and incorporates by reference, as if fully set forth
27   again herein, the allegations contained in all prior paragraphs of this
28   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,


                                              6

     Complaint
Case 2:20-cv-04991-RGK-SK Document 1 Filed 06/05/20 Page 7 of 8 Page ID #:7




 1   that persons with disabilities are entitled to full and equal accommodations,
 2   advantages, facilities, privileges, or services in all business establishment of
 3   every kind whatsoever within the jurisdiction of the State of California. Cal.
 4   Civ. Code §51(b).
 5      33. The Unruh Act provides that a violation of the ADA is a violation of the
 6   Unruh Act. Cal. Civ. Code, § 51(f).
 7      34. Defendants’ acts and omissions, as herein alleged, have violated the
 8   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 9   rights to full and equal use of the accommodations, advantages, facilities,
10   privileges, or services offered.
11      35. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
12   discomfort or embarrassment for the plaintiff, the defendants are also each
13   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
14   (c).)
15
16             PRAYER:
17             Wherefore, Plaintiff prays that this Court award damages and provide
18   relief as follows:
19           1. For injunctive relief, compelling Defendants to comply with the
20   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
21   plaintiff is not invoking section 55 of the California Civil Code and is not
22   seeking injunctive relief under the Disabled Persons Act at all.
23           2. Damages under the Unruh Civil Rights Act, which provides for actual
24   damages and a statutory minimum of $4,000 for each offense.
25           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
26   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
27
28


                                                7

     Complaint
Case 2:20-cv-04991-RGK-SK Document 1 Filed 06/05/20 Page 8 of 8 Page ID #:8



     Dated: June 2, 2020          CENTER FOR DISABILITY ACCESS
 1
 2
 3
                                  By:
 4                                ________________________
 5                                      Russell Handy, Esq.
                                        Attorney for plaintiff
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                        8

     Complaint
